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Attorneys for Plaintiff

                          IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF WYOMING

BCB CHEYENNE LLC d/b/a BISON                     )
BLOCKCHAIN, a Wyoming limited liability          )
Company,                      .                  )
                                                 )
         Plaintiff,                              )
                                                 )
v.                                               )     Civil No. 23-CV-79
                                                 )
MINEONE WYOMING DATA CENTER,                     )
LLC, a Delaware limited liability company;       )
MINEONE PARTNERS LLC, a Delaware                 )
limited liability company; TERRA CRYPTO          )
INC., a Delaware corporation; BIT ORIGIN,        )
LTD, a Cayman Island Company;                    )
SONICHASH LLC, a Delaware limited                )
liability company; BITMAIN                       )
TECHNOLOGIES HOLDING COMPANY,                    )
A Cayman Island Company; BITMAIN                 )
TECHNOLOGIES GEORGIA LIMITED,                    )
a Georgia corporation; and JOHN DOES 1-18,       )
related persons and companies who control        )
or direct some or all of the named Defendants,   )
                                                 )
         Defendants.                             )


         JOINT AND STIPULATED MOTION TO DISTRIBUTE ALL OF
THE ATTACHED FUNDS AND ACCRUED INTEREST BEING HELD BY THE CLERK
     OF THE DISTRICT COURT PURSUANT TO THIS COURT’S AMENDED
      PREJUDGMENT WRITS OF ATTACHMENT AND GARNISHMENT


         COME NOW all the remaining Parties, Plaintiff BCB Cheyenne LLC and Defendants
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MineOne Wyoming Data Center, LLC, Terra Crypto Inc., MineOne Partners, LLC, Bit Origin, Ltd.,

and SonicHash, LLC, through their respective counsel, and hereby stipulate, agree and jointly move

the Court for its immediate Order directing the Clerk of the District Court to distribute all of the

attached funds being held and invested by the Clerk of the District Court, together with all of the

accrued interest on those attached funds, as follows:

       1. The Parties have now settled all of their claims and counterclaims and will soon file with

           the Court their Stipulation of Dismissal with Prejudice and a [proposed] Order of

           Dismissal with Prejudice. The Parties have also signed a written Settlement Agreement

           and Mutual Releases (“Settlement Agreement”).

       2. Pursuant to their Settlement Agreement, of the $15,277,292.79 in attached funds held in

           the Court’s Registry, MineOne Wyoming Data Center LLC is to receive $11,177,292.79

           of the attached funds being held and invested by the Clerk of the District Court, and BCB

           Cheyenne LLC is to receive $4,100,000.00 of the attached funds being held and invested

           by the Clerk of the District Court.

       3. Further, and also pursuant to the Parties’ Settlement Agreement, any remaining balance

           held in the Court’s Registry after the distributions above shall be used to satisfy any

           interest and/or fees owing to the Court, and any balance remaining after satisfying any

           interest and/or fees owing to the Court shall be distributed to MineOne Wyoming Data

           Center LLC.

       4. The Parties now agree, stipulate, and jointly move this Court that it now review, sign,

           and enter the attached [proposed] ORDER DIRECTING THE CLERK OF THE DISTRICT

           COURT TO DISTRIBUTE ALL OF THE ATTACHED FUNDS AND ACCRUED INTEREST BEING

           HELD BY THE CLERK OF THE DISTRICT COURT PURSUANT TO THIS COURT’S AMENDED

           PREJUDGMENT WRITS OF ATTACHMENT AND GARNISHMENT .




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DATED this 15th day of October, 2024.



 BCB Cheyenne        LLC    d/b/a   Bison MineOne Wyoming Data Center LLC,
 Blockchain                               Terra Crypto Inc., and MineOne Partners
                                          LLC
 Plaintiff
                                            Defendants

                                            By: Paula K. Colbath, Pro Hac Vice
 By: /s/ Patrick J. Murphy                     Paula K. Colbath
     Patrick J. Murphy (WSB No. 5-1779)        LOEB & LOEB LLP
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     E-mail: pmurphy@wpdn.net
                                            Bit Origin, Ltd. and SonicHash, LLC

                                            Defendants

                                            By: Marc S. Gottlieb, Pro Hac Vice
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